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American Medical Response, Inc. v. City of Stockton
United States District Court- Eastern District No. 2:05-CV-01316-DFL-PAN

ELZIG DEPO
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IN THE UNITED STATES DISTRICT COURT

IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA

AMERICAN MEDICAL RESPONSE, INC.,
a Delaware Corporation,

‘Plaintiff, .
No. 2:05-CV-01316-DFL-PAN
vs. ,

CITY OF STOCKTON, a California
‘Municipality, ~

Defendants.

AND RELATED CROSS ACTIONS

DEPOSITION OF BARRY ELZIG
DATE: Thursday, August 11, 2005, at 1:00 p.m.

DEPOSITION OFFICER: BOBBIE JO HARR
CSR No. 6090, RMR

TAKEN AT:

GAROUTTE'S

120 North Hunter Street, Suite 104
Stockton, California 95202 .

GAROUTTE'S
Certified Shorthand Reporters
-120 North Hunter -Street, Suite 104
Stockton, California 95202
(209) 942-2100 or Nationwide (800) 942-2103
FAX (209) 942-2150

~ lawsuit.

record?

A.

Q.

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—Case2-05-cv-01316-JAM EFB—Deeument 77-8 Pied 6873i105 Page 3 OT 22

BARRY ELZIG,

the deponent herein, having been first duly and regularly
sworn by the Certified Shorthand Reporter, deposed and

testified as follows:

** EXAMINATION BY MR. HIGGINS **

MR. HIGGINS: Q. Good afternoon, sir. . My name

is Mike Higgins. I represent the City of Stockton in this

Would you please state your name, for the

Barry Elzig.

How do you spell Elzig, sir?

B-L-Z-I-G.

. Thank you. Have you ever had your deposition

taken before, Mr. Elzig?

Yes.
How many times?
One time.

When was that?

Eighteen, 19 years ago.

What kind of lawsuit was that?
I honestly don't remember.
Were you a party in that lawsuit?

No.

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Q. Okay. As you probably recall, the procedure is
pretty straightforward. I ask you questions, you answer
them. Occasionally your attorney may interpose objections
for the record. Unless your attorney tells you not to
answer one of my questions, despite the fact that he
stated an objection, you can answer.

Do you understand that?

A. Yes.

Q. Okay. If you don't understand one of my

questions for any reason, if I mumble, say something that

just doesn't make sense to you, please let me know. ['1l
try to find out what's wrong with the question and fix it
and move on.

The court reporter is transcribing what we say
here today. The court reporter cannot do that if we
talk at the same time.

A. Okay.

Q. Please allow me to finish my question, and I will
make a great effort to allow you to finish your answer.
Same thing with your attorney, if he's speaking, try to
let him finish so that the court reporter can do her job.

. Okay?
A. Okay.
Q. Thank you. Are you employed, sir?

A. Yes.

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Q. Who is your employer?

A. American Medical Response.

Q. Do you often refer to American Medical Response
as AMR?

A. Yes.

Q. If I refer to AMR today, will you understand that

I'm referring to American Medical Response?

A. Yes.

Q. Okay. What's your position at AMR?
A. I'm the Director of Operations.

0. Do you have a particular territory?
A. Yeah.

Q. What's your territory?

A. All of San Joaquin County.

Q. Do you have responsibility for directing
operations in any other county?

A. No.

Q. At one time did you have a larger area to direct
operations for AMR?

A. Yes.

Q. And when was that?

A. It ended in June of this year.

Q. Okay. And what was that previous territory that
you were director of operations for?

A. Calaveras County.

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Q. For how many years were you director of

operations for AMR in San Joaquin County and Calaveras

County?
A. Approximately two years.
Q. Do you know why your territory changed in June of

this year?
A. Yes.

Q. Why was it?

A. We -- or Calaveras County went out to an RFP, and

AMR chose not to bid.

Q. To whom do you report at AMR?

A. Brad White.

Q. Do you report to anyone else at AMR?

A. No.

Q Do you know to whom Mr. White reports?

A. Yes.

Q To whom does he?

A Lou Meyer.

Q. In the course of your work as Director of

Operations in San Joaquin County for American Medical

Response, do you communicate frequently directly to Mr.

Meyer?
A. Yes.
Q. Okay. Before you were Director. of Operations for

AMR and San Joaquin and Calaveras counties, what was your

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position if any at AMR?
A. Field Supervisor.
Q. Did you get promoted to Director of Operations

about two years ago?

A. Yes.

Q. How long were you Field Supervisor?

A. Three years?

Q. Do you remember the month in 2003 when you were

promoted to Director of Operations?
A. Yes.
Q. What month was it?
A. March.
Q. San Joaquin recently issued a Request for

Proposals for emergency ambulance services; is that

correct?
A. Yes.
Q. Are you familiar with that Request For Proposals?

MR. DELEHUNT: That's a vague and ambiguous
question, also overbroad.

You can answer to the -- subject to objection.

MR. HIGGINS: Q. Are you familiar with that
Request For Proposal?

MR. DELEHUNT: Same objection.

MR. HIGGINS: Q. Okay. You personally, do you

often refer to that as an RFP?

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1 Q Who is Diane Akers?
2 A; She's a consultant.
3 Q. She's not an AMR employee?
4 A. No.
5 Q. Did Diane Acres have any role in 2004 in the

6 joint effort between AMR and the City to respond to the

7 County RFP?

8 MR. DELEHUNT: That's overbroad. Vague and

9 ambiguous.

10 | | THE WITNESS: I'm not sure what you're asking me.

11 MR. HIGGINS: Q. Did Ms. Akers have any role
12 whatsoever in the joint effort between AMR and the City?
13 A. No.

14 Q. Okay. Did you personally have meetings with

15 Mr. Hafey in 2003 in connection with the joint effort

16 between AMR and the City to respond to the RFP?

17 A. Yes.

18 Q. Approximately how many meetings did you have with

19] Mr. Hafey in 2003.

20 A. Approximately three.

21 Q. Do you know where those meetings were held?
22 | A. Yes.

23 Q. Where?

24 A. The office -- AMR's offices on Charter Way.
25 Q. When was the first of those meetings?

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A. It would be 2003, later part.

Q. Okay. Who else was present at the first meeting
besides you and Mr. Hafey?

A. Ed Rodriguez.

Q Okay.

A. And Brad White.

Q Did anyone give a presentation of any sort at
that meeting?

MR. DELEHUNT: Vague and ambiguous.

THE WITNESS: No.

MR. HIGGINS: Q. Was there any discussion of
confidentiality of information that would be exchanged at
that meeting?

A. I really don't recall.

Q. Did you believe that there was any obligation of
confidentiality upon you personally with respect to the
information that you learned during that meeting?

MR. DELEHUNT: That calls for speculation and
opinion and a legal conclusion. That's an incomplete
hypothetical. Also vague and ambiguous.

You can answer.

THE WITNESS: I -- yeah, I would assume so..

MR. HIGGINS: Q. So you did assume that
information that you received at that meeting was

confidential?
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MR. DELEHUNT: Same objections.
MR. HIGGINS: Q. Is that correct?
THE WITNESS: Yes.
MR. HIGGINS: Q. Okay. And you felt you had an
obligation to maintain the information in confidence?
A. Yes.
Q. Okay.
MR. DELEHUNT: Vague and ambiguous.

MR. HIGGINS: Q. The next two meetings in 2003

that you recall, you say approximately three, were the

same people present at all of those meetings in 2003, that
you recall?
MR. DELEHUNT: Compound, vague and ambiguous.
THE WITNESS: No.
MR. HIGGINS: Q. Who was not at -- at a meeting?
MR. DELEHUNT: Well, overbroad. Vague and
ambiguous and calls for speculation. Compound.
THE WITNESS: Brad White was not at all of them.
MR. HIGGINS: Q. Okay. Anybody else who wasn't
at all of them, of the four people you mentioned?
A. Dave was at them.
Q. Uh-huh.
A. Can't tell you for sure if Ed was at all of them.
Q. Okay. Were any documents exchanged between AMR

and the City of Stockton representatives, Hafey and
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Rodriguez at these meetings?

MR. DELEHUNT: Limited as to time. Vague and
ambiguous.

MR. HIGGINS: Q. These three meetings in 2003.

A. No documents that I can recall.

Q. Okay. Did anyone working on this joint effort in
2003 develop any sort of project management spread sheet
or any tool like that related to the effort?

A. Yes.

QO Who did?

A. Dave Hafey.

Q Do you know what he developed?

MR. DELEHUNT: Vague and ambiguous. Overbroad.
You can answer.

THE WITNESS: I saw it.

MR. HIGGINS: Q. Did he give you copies of it?

A. No.

0. What did you see?

A. Basically it is a -- it is a software that --
that runs your project for you, keeps you on a time line.

Q. Okay. And what kind of entries were in there
that you saw?

MR. DELEHUNT: Vague and ambiguous. Calls for
speculation.

THE WITNESS: I have no idea. You're just --
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you're talking pages.

‘MR. HIGGINS: Q. Uh-huh.

A. I couldn't tell you.
Well, did it assign tasks to people, for example?
A. Yes.

MR. DELEHUNT: Vague and ambiguous.

Wait a minute. Please give me a chance to get
on the record, and take your time.

MR. HIGGINS: Q. Did it assign tasks to you?

MR. DELEHUNT: Vague and ambiguous. Calls for
speculation.

THE WITNESS: Yes.

MR. HIGGINS: Q. Okay. And did you know what
tasks this software program was assigning to you?

MR. DELEHUNT: Vague and ambiguous. Limited as
to time.

THE WITNESS: I would have, yeah.

MR. HIGGINS: Q. How did you learn what tasks
were being assigned to you?

MR. DELEHUNT: Same objection, vague and
ambiguous, limited as to time. Calls for speculation.

THE WITNESS: As the -- as you walk through that
software, you put your projects in, it gets assigned to
somebody with a time line.

MR. HIGGINS: @Q. So did somebody say, "Okay,
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now, here's what the software is doing. Is this okay with

you?" Something like that, how the process —~

MR. DELEHUNT: - Vague and ambiguous, compound,
calls for speculation. Limited as to time.

Is it bigger than a bread box? Were there some
tasks in some software at some time that he understood?
I mean --

MR. HIGGINS: Are you through yet?

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DELEHUNT: I am now.
MR. HIGGINS: Thank you.

Q. So you looked at the software. Is that how you
learned what tasks were assigned to you?

MR. DELEHUNT: Vague and ambiguous.
MR. HIGGINS: @. Huh?

A. Yeah.

Q. Okay. Did you make notes or did you -- you say
you didn't get a copy of it, you just looked at it. So
did you make notes of what was assigned to you? How did
you memorialize what tasks were assigned to you?

A. I don't remember.

Q. Okay. Did you ever receive a copy e-mailed or
otherwise of a printout of the software?

A. No.

Q. Okay. How did you decide what tasks were

assigned to whom in this group working together?

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MR. DELEHUNT: Assumes facts not in evidence.

THE WITNESS: I don't remember.

MR. HIGGINS: Q. Okay. Was one person in
charge, kind of the boss saying, "Here, you do this, you
do that"?

MR. DELEHUNT: Objection, it's vague and

THE WITNESS: No.
MR. HIGGINS: Q. Okay. So it was collective
effort to assign tasks and to work together?
MR. DELEHUNT: Vague and ambiguous.
THE WITNESS: That's a fair statement.
MR. HIGGINS: Q. Okay. In 2004, did the
frequency of your meetings with Mr. Hafey increase?

A. No.

Q. Do you recall how many meetings, actually
face-to-face meetings you had with Mr. Hafey in 2004 in
connection with the joint effort to respond to the County
REP?

A. No.

Q. Did Mr. Hafey sometimes work at an office on AMR
property, in 2004?

A. No.

Q. You're not aware of any office that AMR allowed

Mr. Hafey to use on AMR property?

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MR. DELEHUNT: Vague and ambiguous.
THE WITNESS: Yes.
MR. HIGGINS: Q. You are aware?
A. Yes.
Q. . So AMR provided Mr. Hafey with an office on AMR
property in 2004?
MR. DELEHUNT: Vague and ambiguous. Calls for
speculation.
THE WITNESS: Yes.
MR. HIGGINS: Q. Okay. But you don't know

whether Mr. Hafey used it; is that correct?

A. That's correct.

Q. Okay. Do you know what was in the office?
A. Yes.

Q. What was in the office?

A. A laptop computer.

Q. The joint effort between AMR and the City of
Stockton to respond to the County RFP continued until June
of 2005; is that correct?

A. Yeah.

Q. Okay. During the period that AMR and the City
worked together in the joint effort, did the City ever
disclose to AMR its own ambulance service deployment
strategies?

MR. DELEHUNT: Vague and ambiguous, calls for
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it means -- what that letter meant when it referred to
capital costs, equal capital costs?

MR. DELEHUNT: Misstates the record.

MR. HIGGINS: Q. Can I take a quick look?

A. Sure.

Q. Equal capital expenses, excuse me. You don't
understand what that term means, in the context of that
letter?

MR. DELEHUNT: Calls for speculation, incomplete
hypothetical, lacks foundation.
THE WITNESS: They're agreeing to bring equal
capital to the table.
MR. HIGGINS: Q. It says “equal capital
expenses." Do you know what capital expenses are?
MR. DELEHUNT: Again, vague and ambiguous.

THE WITNESS: I guess I don't.

MR. HIGGINS: Q. Okay. Would you take a look at

Exhibit 6? I'd ask you to take a look at the e-mail at
the top,.first.
It is a printout of an é-mail from Chief --
Fire Chief. Do you see that first sentence, "First

responder fees are off the table, per the CM"?

A. Yes.
Q. Is this the written memorialization you testified
about earlier where someone from the City -- or Chief

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Gillis from the City said that first responder fees were
off the table?
“MR. DELEHUNT: Calls for speculation, vague and
ambiguous, mischaracterizes the document.
THE WITNESS: This could be how I learned about
it.
MR. HIGGINS: Q. Okay. Did you receive this
e-mail toward the end of June of this year?
A. Yep.
Q. Okay. You see the e-mail down below. You see
that the -- right’ about -- oh, not quite in the middle of

the page, it says, "Dave Hafey, June 21st, 2005, 3:21

p.m"?
A. Yes.
Q. Do you see the e-mail text that follows?
Do you recognize that e-mail?
A. Okay.
Q. Do you recognize that e-mail underneath the name

Dave Hafey?

A. Yes, I do.

Q. Did you receive a copy of that on or about
June 21st?

A. Yes, I did.

Q. Do you recall when AMR terminated its

relationship with the City related to a joint effort to
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date.
You don't recall a meeting --
A. No.

Q. -- on April 15th?

Okay.

At this time in April 2005, AMR was negotiating
both with the City of Lodi and with the City of Stockton
pursuant to the 2004 Joint Venture Agreement that you
looked at earlier, Exhibit 3; is that correct?

A. That's correct.

Q. And this back and forth reflected here in
Mr. White's e-mail over first responder fees, that was
part of the negotiation ongoing at that time; is that
correct?

A. Yes.

Q. And, at this time, April of 2005, AMR was
negotiating with the City of Stockton over first responder
fees, correct?

MR. DELEHUNT: Calls for speculation. Lacks
foundation, vague and ambiguous.

THE WITNESS: Yes, the talks were going on.
_ MR. HIGGINS: Let's mark next in order.
(Whereupon Plaintiff's Exhibit 43 was
marked for Identification.)

MR. HIGGINS: For the record, the court reporter

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has marked as Exhibit 33 a multi-page document, Bates
numbered CS 003368, through and including 3374.
THE WITNESS: Okay..
MR. HIGGINS: Q. Do you recognize Exhibit 43,
Mr. Elzig?
A. Yes, I do.
Q. What is it?
A. This is the RFP project software that I referred
to earlier.
Q. Okay. Mr. Hafey kept this software file on his
- computer?
A. Yes.

Q. Okay. And so he kept the master?

A. That's correct.

Q. Okay. You see over in the right-hand column, the
first -- not the first. Let's go down to -- in the middle
column, I'm sorry, the big column. "See verification

letters"? Do you see that?
A, Yeah.
Q. Okay. And "See AMR, EMS verification letters,"

you go across, do you see over on the right-hand side

"Barry"?
A. Yes.
Q. Is that a reference to you?

A. Yes.
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Q. Okay. Do you see the next entry for Barry is
"AMR provide template for endorsement letters"? That's
line 35.

A. Okay.

Q. Okay. Was that a reference to you?

MR. DELEHUNT: Calls for speculation.
THE WITNESS: Yeah.
MR. HIGGINS: Q. Okay. And then also you see
the name Elzig over there in the right-hand side on the
first page, "Copies of Ambulance Permits," line 29.

A. Yeah, I see it.

Q. Okay. Are those Barry's -- references to Barry
and Elzig, indications that the tasks were assigned to
you?

A. Yes. I'm sorry.

MR. DELEHUNT: Calls for speculation as ohrased,
but you can answer.

THE WITNESS: Yes.

MR. HIGGINS: Q. Okay. Turning over to page 2,

over in the left hand column, it's item 42. Do you see

that?
A. Yeah.

Q. "Stockton Fire Department to provide bios on all

senior staff.”

Did Stockton Fire Department provide AMR with:
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biographical statements for their senior staff, to your

knowledge?
A. No.
Q. You don't know?
A. No, they did not.
Q. How do you know they did not?
. A. I never received them.
Q. Do you know if anyone else at AMR received them?
A. I do not.

Q. Okay. So you don't know if anyone at AMR
received it; is that correct?

MR. DELEHUNT: Misstates prior testimony. He
testified he didn't receive them.

MR. HIGGINS: Q. So you don't know if anybody at
AMR received them, do you?

MR. DELEHUNT: Misstates prior testimony.
Argumentative.

THE WITNESS: I don't know.

MR. HIGGINS: Q. Okay. Turning over to page 3,
do you see line 80? "Describe how AMR and SFD can be
networked."

A. Yeah, I see it.
Q. Okay. And go all the way over to the right, the
name in the right hand column is Erdman. Do you know who

that refers to?
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STATE OF CALIFORNIA )
COUNTY OF SAN JOAQUIN ) ss.

I, BOBBIE JO HARR, Certified Shorthand Reporter herein,
do hereby certify:

That on Thursday, August 11, 2005, at 1:00 p.m., the -
witness herein, BARRY ELZ1G, was duly sworn:

That said witness' testimony and the proceedings had at
the time of such testimony were taken down in shorthand
notes by me; I thereafter caused said shorthand notes to be
transcribed into longhand typewriting, the following being a
full, true, and correct transcription therein; a

That I am a disinterested person, and am not in any way
interested in the outcome of said action; nor connected with
nor related to any of the parties in said action, nor to
their respective counsel;

_ ---000---
On August 12, 2005, all counsel were given notice of

: the preparation of the deposition, and the original

deposition was available for reading,. correcting, approval,
or signing in our offices until September 16, 2005.
. ==-000--—

The witness signed the deposition and made no

corrections.

The witness and parties waived examination and reading
of the deposition at the time of the taking of the
deposition. .

The witness corrected, approved, or refused to approve |
the deposition by letter to me attached thereto, and copies.
of the letter were sent to all counsel.

The witness failed to appear at my office.

The witness appeared in my office, made changes to the

deposition, and counsel were provided with copies of the

changes.
The-witness refused to approve or sign the deposition
for the following reasons:

Oother:,

IN WITNESS WHEREOF, I have hereunto subscribed my hand.
DA RS ey _, .
Fa0bba™~)e then
BOBBIE JO BARR, CSR NO. 6090, RMR
COUNSEL: YOU WILL BE NOTIFIED OF ANY CHANGES OR CORRECTIONS
TO THE DEPOSITION. CONTACT OUR OFFICE IF YOU HAVE ANY

| QUESTIONS.

